                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN DIVISION

 OSCAR FERNANDEZ, Individually and
 as Administrator of the Estate of Isidro
 Fernandez,
                                                       No. 20-CV-2079-LRR
              Plaintiff,
 vs.
                                                              ORDER
 TYSON FOODS, INC., TYSON FRESH
 MEATS, INC., JOHN H. TYSON,
 NOEL W. WHITE, DEAN BANKS,
 STEPHEN R. STOUFFER, TOM
 BROWER, TOM HART, CODY
 BRUSTKERN, JOHN CASEY and BRET
 TAPKEN,

              Defendants.
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       The matter before the court is the parties’ “Joint Motion to Set Deadline for
Responding to Amended Complaint and to Extend Scheduling Conference” (“Motion”)
(docket no. 32), which the parties filed on November 18, 2020.           In the Motion,
Defendants state that they “intend to file motions to dismiss the First Amended Complaint
on behalf of all [D]efendants.” Motion at 1. The parties request (1) that “the deadline
for all [D]efendants named in the First Amended Complaint . . . to move to dismiss the
First Amended Complaint be set [to] December 11, 2020 from the current deadline of
November 25, 2020”; (2) that “Plaintiffs’ deadline for responding to such motions be set
[to] January 11, 2021 from the current deadline of December 9, 2020”; and (3) that “the
deadline for submitting the Scheduling Order and Discovery Plan . . . be continued for a
period of 60 days from the current deadline of December 1, 2020.” Id. at 1-2.
       The Motion is GRANTED in part and DENIED in part. Defendants shall have
to Friday, December 11, 2020 to file any motion(s) to dismiss Plaintiffs’ First Amended



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Complaint. Plaintiffs shall have until Monday, January 11, 2021 to file any response(s)
to any motion(s) to dismiss the First Amended Complaint filed by Defendants. No further
extensions will be granted to the parties’ agreed upon deadlines. The parties’ request to
continue the deadline for submitting the Scheduling Order and Discovery Plan is
DENIED. The current deadline of December 1, 2020 for filing the Scheduling Order
and Discovery Plan remains firm. Additionally, the Motion to Dismiss (docket no. 20)
filed by Defendants Dean Banks, Hamdija Beganovic, Missia Abad Bernal, Tom Brower,
Elizabeth Croston, Tom Hart, James Hook, Ramiz Muheljic, Mary A. Oleksiuk, Stephen
R. Stouffer, John H. Tyson and Noel W. White is DENIED as moot. 1 Similarly,
Defendants Tyson Foods, Inc.’s and Tyson Fresh Meats, Inc.’s Motion to Dismiss
(docket no. 21) is DENIED as moot.
      IT IS SO ORDERED.
      DATED this 18th day of November, 2020.




      1
          The court notes that, on November 11, 2020, with the filing of the First
Amended Complaint (docket no. 29), the following Defendants Mary A. Oleksiuk,
Elizabeth Croston, Hamdija Beganovic, James Hook, Ramiz Muheljic and Missia Abad
Bernal were dismissed from this action and have been terminated from this case.
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